
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a3537-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a1537-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3337-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3532-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0537-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3539-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3937-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3567-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3737-15.pdf (mistyped character)


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